66 F.3d 310
    Frank Chiaia, David J. Granatell, Classic SanitationCompany, Inc. of Saddle Brook, New Jersey,Recycling Specialists, Inc.v.Monmouth County Prosecutor, John Kaye, Monmouth CountyAssistant Prosecutor, Michael Cunningham, MonmouthCounty Board of Health, Lester W.Jargowsky, Walter Strucek
    NO. 94-5611
    United States Court of Appeals,Third Circuit.
    Aug 31, 1995
    
      Appeal From:  D.N.J., No. 93-cv-05255,
      Thompson, J.
    
    
      1
      AFFIRMED.
    
    